2JS 44 (Rey. 12/12)

Case 1:22-cv-00159-JL TRL COVE Sheet? 02/07/22 Pagei1of1

The JS 44 civil cover sheet and the information contained herein neither replace nor suppiement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

nited States in September 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff CATH 0)

County of Residence

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

NOTE:
THE TRACT

Attomeys (if Known)

of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED.

Yi

DEFENDANTS /' 22. (1/-00/E9- DLV Bh

Dseace—

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)

O 1. U.S. Government

Plaintiff

0 2 US. Government
Defendant

O 3 Federal Question

(U.S. Government Not a Party}

wt Diversity

(Indicate Citizenship of Parties in Item If)

(For Diversity Cases Only)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State O 1 © 1 Incorporated or Principal Place o4 04
of Business In This State
Citizen of Another State G2 OG 2 Incorporated and Principal Place gos 085
of Business In Another State
Citizen or Subject ofa O03 © 3. Foreign Nation go6 d6

Foreign Country

IV. NATURE OF SUIT (Place an
€

© 625 Drug Related Seizure
of Property 21 USC 881
G 690 Other

FORFEITURE/PENALTY

“BANKRUPTC

(0 422 Appeal 28 USC 158
C) 423 Withdrawal
28 USC 157

O 820 Copyrights
OC 830 Patent
O 840 Trademark

CONTRACT é
O 110 Insurance PERSONAL INJURY
O 120 Marine 0 310 Airplane 0 365 Personal Injury -
0 130 Miller Act 0 315 Airplane Product Product Liability
0 140 Negotiable Instrument Liability O 367 Health Care/
O 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
GO 151 Medicare Act 0 330 Federal Employers’ Product Liability
O 152 Recovery of Defaulted Liability 0 368 Asbestos Personal
Student Loans OG 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability
01 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran’s Benefits G 350 Motor Vehicle © 370 Other Fraud
O 160 Stockholders’ Suits GF 355 Motor Vehicle 0 371 Truth in Lending
O 190 Other Contract Product Liability O 380 Other Personal
G1 195 Contract Product Liability | 360 Other Personal Property Damage
O 196 Franchise Injury 1 385 Property Damage
OG 362 Personal Injury’- Product Liability
__ Medical Malpractice
/ REAL PROPERTY: CIVIL RIGHTS ‘PRISONER PETITIONS:

OG 210 Land Condemnation

0 220 Foreclosure

O 230 Rent Lease & Ejectment
0 240 Torts to Land

O 245 Tort Product Liability
G 290 All Other Real Property

+

/

°¥/440 Other Civil Rights

O 441 Voting

0 442 Employment

0 443 Housing/
Accommodations

GF 445 Amer, w/Disabilities -
Employment

0 446 Amer. w/Disabilities -
Other

0 448 Education

Habeas Corpus:
O 463 Alien Detainee
O 510 Motions to Vacate
Sentence
0 530 General
0) 535 Death Penalty
Other:
O 5A0 Mandamus & Other
550 Civil Rights
0 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement

0 710 Fair
Act

OG 720 Labor/Management
Relations

© 740 Railway Labor Act

751 Family and Medical

Leave Act

0 790 Other Labor Litigation

0 791 Employee Retirement
Income Security Act

O 861 HIA (1395ff)

O 862 Black Lung (923)

O 863 DIWC/DIWW (405(g))
0 864 SSID Title XVI

O 865 RSI (405(g))

‘if PROPERTY-RIGHTS=

SOCIAL: SECURITY

G 870 Taxes (U.S. Plaintiff
or Defendant)
OG 871 IRS—Third Party

O 462 Naturalization Application
GI 465 Other Immigration
Actions

V/ ORIGIN (Place an “X” in One Box Only)

1 Original
Proceeding

2 Removed from
State Court

O 3  Remanded from
Appellate Court

o4

Reinstated or
Reopened

8

O 5 Transferred r
Another District
(specify)

OO g000 O00 O8000000

ST REDERAL TAX SUITS =~.

375 False Claims Act

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

VER

VI. CAUSE OF ACTION

Cite the U.S. G Oa aA" which you are filing (Do not cite jurisdictional statutes unless diversity):
EAKLOE DAAC

Brief description of cause: A. ‘ . .
Z Disetemivatow

WSBMEC ORCS pr

VII. REQUESTED IN
COMPLAINT:

(CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND $

V CHECK YES only if demand in complaint:
es

JURY DEMAND:

O No

VIII. RELATED CASE(S)

(See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

